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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

STATE OF CONNECTICUT OFFICE OF : — Civil Action No. 3:03CV1352 (RNC)
PROTECTION AND ADVOCACY
FOR PERSONS WITH DISABILITIES;
JAMES MCGAUGHEY, Executive
Director, Office of Protection and
Advocacy for Persons with Disabilities,

Plaintiffs,
v.

WAYNE CHOINSKL, Warden,
Northern Correctional Institution,
in his official capacity;
GIOVANNY GOMEZ, Warden,
Garner Correctional Institution,
in his official capacity; and
THERESA C. LANTZ, Commissioner,
Connecticut Department of Correction,
in her official capacity;

Defendants. ; September “2. / , 2005

JOINT MOTION FOR CONDITIONAL DISMISSAL
AND APPROVAL OF SETTLEMENT
In accordance with Rule 41(a) Fed. R. Civ. P., all parties jointly move for the
dismissal of the above-entitled action upon the following terms and conditions:
1. That the Court incorporate into its Order of Dismissal, and approve as an

Order of the Court, the written Settlement Agreement dated March 8, 2004, and jointly
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executed by Office of Protection & Advocacy, James D. McGaughey, Wayne Choinski,
Giovanny Gomez and Theresa C. Lantz ("the Settlement Agreement"),

2. That the dismissal of this action be with prejudice; and

3, That the Court retain jurisdiction over this action for the purposes of
enforcing the terms and conditions of the parties' Settlement Agreement. This
jurisdiction shall be limited as set forth in Section A.13 and B.17 of the Settlement
Agreement.

An agreed Order of Dismissal is appended to this Motion.

Br CDV

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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

STATE OF CONNECTICUT OFFICE OF : — Civil Action No. 3:03CV1352 (RNC)
PROTECTION AND ADVOCACY
FOR PERSONS WITH DISABILITIES;
JAMES MCGAUGHEY, Executive
Director, Office of Protection and
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Plaintiffs,
Vv.

WAYNE CHOINSKI, Warden,
Northern Correctional Institution,
in his official capacity;
GIOVANNY GOMEZ, Warden,
Garner Correctional Institution,
in his official capacity; and
THERESA C. LANTZ, Commissioner,
Connecticut Department of Correction,
in her official capacity;

Defendants. : September , 2005
ORDER OF DISMISSAL

Having considered the Joint Motion For Conditional Dismissal And Approval of
Settlement, and the parties’ Settlement Agreement attached hereto as Exhibit A, it is
ORDERED that such Motion be, and is hereby, GRANTED;

IT IS FURTHER ORDERED that all terms and conditions of the parties’
Settlement Agreement are hereby INCORPORATED INTO THIS ORDER as if fully set
forth herein, and are hereby APPROVED, and the defendants are DIRECTED to fulfill

the obligations undertaken in the Settlement Agreement,

4.
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IT IS FURTHER ORDERED that, subject to the terms and conditions of this
Order, the above entitled action is hereby DISMISSED WITH PREJUDICE; and

IT IS FURTHER ORDERED that this Court shall RETAIN JURISDICTION over
this action for the purposes of enforcing any of the terms or conditions of the parties’
Settlement Agreement. This jurisdiction shall be limited as set forth in Sections A.13 and
B.17 of the Settlement Agreement.

SO ORDERED this ___ day of September, 2005.

 

Robert N. Chatigny
Chief United States District Judge
